
PITTMAN, Judge.
AFFIRMED. NO OPINION.
See Rule 53(a)(1) and (a)(2)(E), Ala. R. App. P.; Walker v. Walker, 144 So.3d 359, 364-65 (Ala. Civ. App. 2013) ; Pritchett v. State Farm Mut. Auto. Ins. Co., 834 So.2d 785, 791-92 (Ala. Civ. App. 2002) ; and Pate v. Billy Boyd Realty &amp; Constr., Inc., 699 So.2d 186, 189 (Ala. Civ. App. 1997).
Thompson, P.J., and Donaldson, J., concur.
Moore, J., dissents, with writing, which Thomas, J., joins.
